Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 12-24239-CIV-O'SULLIVAN
                                      [CONSENT]

 DENARII SYSTEMS LLC,

           Plaintiff,

 v.

 OMAR ARAB, GREYNIER FUENTES,
 FRANK ALVAREZ, individuals, and
 BUT TECHNOLOGIES CORP., a Florida Corporation,

           Defendants.
 ----------------------~/
                                          ORDER

           THIS MATTER is before the Court on the Plaintiffs Motion for Summary

 Judgment (DE #124, 2/10/14) and the Plaintiff/Counterdefendant's Motion for Summary

 Judgment (DE #125, 2/10/14). Having reviewed the applicable filings and the law and

 having held a hearing on June 27, 2014, it is

           ORDERED AND ADJUDGED that the Plaintiff's Motion for Summary Judgment

 (DE #124, 2/10/14) is DENIED for the reasons stated on the record at the hearing. The

 plaintiff seeks summary judgment on the following claims: civil conspiracy, violation of

 the Florida Uniform Trade Secrets Act, violation of the Computer Fraud and Abuse Act,

 violation of the Stored Communications Act and two counts of fraud. There are genuine

 issues of material fact as to each of these claims that preclude summary judgment. It is
 further

           ORDERED AND ADJUDGED that the Plaintiff/Counterdefendant's Motion for

 Summary Judgment (DE #125, 2/10/14) is GRANTED in part and DENIED in part.

 Summary judgment is hereby entered in favor of the plaintiff and against defendants
 Omar Arab (hereinafter "Arab") and Greynier Fuentes (hereinafter "Fuentes") on the

 Florida Wiretap Act claim and against defendant Arab on the Florida Whistleblower Act
 claim. The plaintiff also seeks summary judgment on the breach of employment contract
Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 2 of 7



 and unjust enrichment claims. There are genuine issues of material fact as to those two

 claims that preclude summary judgment

                                  STANDARD OF REVIEW

        The Court, in reviewing a motion for summary judgment, is guided by the

 standard set forth in Federal Rule of Civil Procedure 56( a), which states, in relevant

 part, as follows: "The court shall grant summary judgment if the movant shows that

 there is no genuine dispute as to any material fact and that the movant is entitled to

 summary judgment as a matter of law." The moving party bears the burden of meeting

 this exacting standard. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). That is,

 "[t]he moving party bears 'the initial responsibility of informing the ... court of the basis

 for its motion, and identifying those portions of the 'pleadings depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, which it

 believes demonstrate the absence of a genuine issue of material fact."' United States v.

 Four Parcels of Real Prop., 941 F .2d 1428, 1437 (11th Cir. 1991) (quoting Celotex, 4 77

 U.S. at 323).

        In assessing whether the moving party has satisfied this burden, the Court is

 required to view the evidence and all factual inferences arising therefrom in the light

 most favorable to the non-moving party. Batey v. Stone, 24 F.3d 1330, 1333 (11th Cir.

 1994 ). Summary judgment is appropriate when there is no dispute as to any material

 fact and only questions of law remain. Adega v. State Farm Fire & Cas. Ins. Co., No.

 07-20696, 2009 WL 3387689, at *3 (S.D. Fla. Oct. 16, 2009). If the record presents

 factual issues, the Court must deny the motion and proceed to trial. Adickes v. S.H.

 Kress & Co., 398 U.S. 144, 157 (1970).

        Despite these presumptions in favor of the non-moving party, the Court must be

 mindful of the purpose of Rule 56 which is to eliminate the needless delay and expense

 to the parties and to the Court occasioned by an unnecessary trial. Celotex, 477 U.S. at

 322-23. Consequently, the non-moving party cannot merely rest upon his bare



                                               2
Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 3 of 7



 assertions, conclusory allegations, surmises or conjectures . .!.Q.. As the Supreme Court

 noted in Celotex:

        [T]he plain language of Rule 56( c) mandates the entry of summary
        judgment ... against the party who fails to make a showing sufficient to
        establish the existence of an element essential to the party's case, and on
        which the party will bear the burden of proof at trial. In such a situation,
        there can be "no genuine issue as to any material fact," since a complete
        failure of proof concerning an essential element of the non-moving party's
        case necessarily renders all other facts immaterial.

 .!.Q.. at 322-23. Thus, the mere existence of a scintilla of evidence in support of the non-
 moving party's position is insufficient. There must be evidence on which the jury could

 reasonably find for the non-movant. Anderson v. Liberty Lobby. Inc., 477 U.S. 242, 251

 (1986).

                                          ANALYSIS

 I.     Violation of the Florida Wiretap Act

        The Florida Wiretap Act, Fla. Stat. § 934.03, protects those oral communications

 "uttered by a person exhibiting an expectation of privacy under circumstances justifying

 such an expectation." State v. lnciarrano, 473 So.2d 1272, 1275 (Fla. 1985). Florida

 courts have established a two-part test for determining whether an expectation of

 privacy is reasonable. First, the speaker must have a subjective expectation of privacy .

 .!.Q.. Second, the expectation of privacy must be one which society is prepared to
 recognize as reasonable . .!.Q..

        The defendants, 1 Arab and Fuentes, allege that the plaintiff violated the Florida

 Wiretap Act when Franco Ceruti, a software architect, secretly recorded meetings held

 in or around October 2012. The plaintiff moved for summary judgment on this claim

 because Mr. Ceruti is an independent contractor and not an employee of the plaintiff.
 See Nazworth v. Swire Fla., 486 So.2d 637, 638 (Fla. 1st DCA 1986) ("The general rule

 ... is that an owner, employer, or contractee will not be held liable for the torts of an




        1
         For purposes of the Florida Wiretap Act claim, the term "defendants" refers only
 to Arab and Fuentes.

                                               3
Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 4 of 7



 independent contractor ... in the performance of the contracted work."). 2

        Assuming, arguendo, that the defendants can show they had a reasonable

 expectation of privacy, Mr. Ceruti is an independent contractor as a matter of law and

 the plaintiff is not liable for his actions. The defendants maintain that Mr. Ceruti "was

 technically an independent contractor" because he "had Denarii employees reporting to

 him," was "part of the organizational chart" and "[his] peers at Denarii treated him as if

 he were an employee." Response of Defendants Arab and Fuentes to Plaintiff's

 Statement of Material Facts (DE# 141 at 3, 3/10/14). 3 The defendants fail to cite any

 record evidence supporting these factual assertions. The Eleventh Circuit has

 "consistently held that conclusory allegations without specific supporting facts have no

 probative value" and are insufficient to avoid summary judgment. Evers v. Gen. Motors

 Corp., 770 F.2d 984, 986 (11th Cir. 1985).

        Here, the record evidence showed that Mr. Ceruti is an independent contractor

 and not an employee of the plaintiff. See Harper v. Toler, 884 So.2d 1124, 1131 (Fla. 2d

 DCA 2004) (discussing the ten factors courts look to in determining independent

 contractor status). During his deposition, Mr. Ceruti testified to spending approximately

 20 hours per week working for non-Denarii clients and stated that he was not paid

 directly by the plaintiff. Deposition of Frank Ceruti (DE# 128-4 at 54-55, 2/14/14 ).

 Because there is no conflicting record evidence creating a factual dispute over Mr.

 Ceruti's status as an independent contractor, the plaintiff is entitled to summary



        2
          Florida courts have held a party liable for the actions of an independent
 contractor only where that party is under a non-delegable duty. McCall v. Ala. Bruno's.
 Inc., 647 So.2d 175, 178 (Fla. 1st DCA 1994) (stating that such non-delegable duties
 arise out of "inherently dangerous activity," "inherently dangerous elements" and the
 creation of "inherently dangerous conditions."). This exception to the general rule that a
 contracting party cannot be held liable for the actions of an independent contractor is
 inapplicable here.
        3
         Some of the documents filed by the parties contain multiple page numbers. To
 avoid confusion and for the sake of consistency, the undersigned will cite only to the
 page number appearing on the top right hand corner of the document that is
 automatically assigned by the Court's CM/ECF system.

                                              4
Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 5 of 7



 judgment on this claim.

 II.    Violation of the Florida Whistleblower Act

        The Florida Wiretap Act (hereinafter "FWA"), Fla. Stat. § 448.102, states that: "An

 employer may not take retaliatory action against an employee because the employee

 has ... objected to, refused to participate in, any activity, policy, or practice of the

 employer which is in violation of a law, rule, or regulation." Sierminski v. Transouth Fin.

 Corp., 216 F.3d 945,950 (11th Cir. 2000) (quoting Fla. Stat.§ 448.102(3)). To establish

 a prima facie case under the FWA, defendant Arab must show that: (1) he engaged in

 statutorily protected expression, (2) he suffered an adverse employment action and (3)

 the adverse employment action was causally linked to the statutorily protected activity.

 White v. Purdue Pharma. Inc., 369 F. Supp. 2d 1335, 1336 (M.D. Fla. 2005). Once

 defendant Arab establishes his prima facie case, the burden shifts to the plaintiff to

 show a legitimate, non-retaliatory reason for his termination.   kl The burden would then
 shift back to defendant Arab to show by a preponderance of the evidence that the

 purportedly legitimate reason was pretextual and retaliatory. Hernandez v. Publix Super

 Mkts., Inc., No. 14-20491-CIV, 2014 WL 1379141, at *5 (S.D. Fla. Apr. 9, 2014).

        Defendant Arab maintains that the plaintiff violated the FWA by terminating him

 after he objected to an allegedly fraudulent contract the plaintiff entered into in Ecuador.

 The plaintiff moved for summary judgment on the grounds that defendant Arab cannot

 show that he engaged in protected expression, 4 he cannot establish a causal link and

 has not shown pretext. See Plaintiff/Counterdefendant's Motion for Summary Judgment

 (DE# 125 at 7-11, 2/10/14).

        The undersigned agrees with the plaintiff that defendant Arab has failed to carry



        4
          There is some dispute about whether the claimant must show an actual
 violation as opposed to merely a "good faith, objectively reasonable belief that his
 activity was protected by the statute." Hernandez, 2014 WL 1379141, at *5 (quoting
 Aery v. Wallace Lincoln-Mercury, 118 So.3d 904,916 (Fla. 4th DCA 2013)). The
 undersigned does not need to decide this issue because other grounds warrant
 summary judgment for the plaintiff on this claim.

                                               5
Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 6 of 7



 his burden of showing a causal link between the protected activity and his termination.

 White, 369 F. Supp. 2d at 1337. In his affidavit, he attests:

          29.   When I returned to Denarii after the business trip to Ecuador, I
                recounted what I had learned while in Ecuador. It was a problem
                for me to see that Denarii had signed the contract and recevied
                money from the government when it was not authorized to do so.
          30.   After I spoke of these issues, things at Denarii became a lot
                worse for me. Greynier Fuentes and I met with Denarii executives,
                who made us turn in all Denarii passwords. Shortly after that,
                Denarii took away my administrative access, as well as that of
                Greynier Fuentes. For about a week, I was at Denarii without that
                access.
 Affidavit of Omar Arab (DE# 141-4 at 4, 3/10/14) (emphasis added). Defendant Arab

 fails to specify who at Denarii he complained to 5 and fails to show a causal link between

 his disapproval of the plaintiff's activities in Ecuador and his termination.

          Even assuming, arguendo, that defendant Arab can establish a prima facie case

 under the FWA, he has not overcome the legitimate, non-retaliatory reason proffered by

 the plaintiff. The plaintiff maintains that defendant Arab was terminated for engaging in

 "significant misconduct." Plaintiff/Counterdefendant's Motion for Summary Judgment

 (DE# 125 at 12, 2/10/14); see also Termination Letter (DE# 128-1 at 201, 2/14/14). In

 his affidavit opposing summary judgment, defendant Arab states in a conclusory fashion

 that "it became obvious to [him] that Denarii was retaliating for having objected to [its]

 fraudulent contract" in Ecuador. Affidavit of Omar Arab (DE# 141-4 at 4, 3/10/14 ).

 "Conclusory allegations without specific supporting facts have no probative value" and

 are insufficient to avoid summary judgment. Evers, 770 F.2d at 986. Because defendant

 Arab has failed to show a causal link and has not put forth any evidence establishing

 that his termination was pretextual, the plaintiff is entitled to summary judgment on this
 claim.


          5
         In his deposition, defendant Arab merely states that he forwarded the
 newspaper articles to Jonathan Mytnik, Denarii's president, and further admitted that
 Mr. Mytnik never commented or otherwise responded to that email. Deposition of Omar
 Arab (DE #128-1 at 150-51, 2/14/14); Deposition of Greynier Fuentes (DE# 128-5 at
 78, 2/14/14) (stating that Mr. Mytnik is Denarii's president).

                                               6
I   ,   '   •


                                                                                                        \
                Case 1:12-cv-24239-JJO Document 180 Entered on FLSD Docket 06/30/2014 Page 7 of 7



                                                     CONCLUSION

                         Based on the foregoing, the Court hereby enters summary judgment in favor of




                 2014.


                                                         JOHN J.
                                                         UNITED
                 Copies provided to:
                 All counsel of record




                                                            7
